83 F.3d 414
    NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Joseph Gold HARRIS, Plaintiff-Appellant,v.J. BUGG, Correctional Officer;  L. Hawkins, Lieutenant;  B.Alexander, Correctional Officer;  E. Money, LicensedPractical Nurse;  A.A. Boyd, Sergeant;  R. Walker,Correctional Officer;  L. Newcombes, Correctional Officer;Mister Potillo, Correctional Officer, Defendants-Appellees.
    No. 96-6104.
    United States Court of Appeals, Fourth Circuit.
    Submitted April 15, 1996.Decided May 3, 1996.
    
      Appeal from the United States District Court for the Eastern District of Virginia, at Norfolk.   Robert G. Doumar, District Judge.  (CA-95-362)
      Joseph Gold Harris, Appellant Pro Se.
      E.D.Va.
      DISMISSED.
      Before ERVIN and MOTZ, Circuit Judges, and CHAPMAN, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Appellant appeals the district court's order dismissing his 42 U.S.C. § 1983 (1988) complaint.   The district court assessed a filing fee in accordance with E.D. Va.  Loc. R. 28(C)(4) and Evans v. Croom, 650 F.2d 521 (4th Cir.1981), cert. denied, 454 U.S. 1153 (1982), and dismissed the case without prejudice when Appellant failed to comply with the fee order.   Finding no abuse of discretion, we deny leave to proceed in forma pauperis and dismiss the appeal.   We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    
      2
      DISMISSED.
    
    